Case 1:20-cv-10301-PKC Document 19 Filed 01/31/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MANHATTAN DIVISION
ROTHSCHILD BROADCAST )
DISTRIBUTION SYSTEMS, LLC )
Plaintiff, ,
v. Case No. 1:20-cv-10301-PKC
PEXIP, INC.
Defendant.

NOTICE OF APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as
counsel for defendant, Pexip, Inc.

PERI & STEWART, LLC

Date: January 31, 2021 /s/ Michael T. Stewart
Michael T. Stewart, Esq.
Bar Number: MS7294
Attorneys for Defendant, Pexip, Inc.
450 Lexington Avenue
New York, NY 10017
Email: Mstewart@peristewart.com
Tel. 973-521-7426 |
Fax. 973-521-7854
